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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
    HEALTHPLAN SERVICES, INC.,
         Plaintiff,
    v.                                                  CASE NO.: 8:18-cv-02608-SDM-AAS
    RAKESH DIXIT, et al.,
         Defendants.
    ________________________________/

      HEALTHPLAN SERVICES, INC.’S MOTION FOR SPECIFIC FEES AND COSTS

           Pursuant to this Court’s Order (Doc. 200, “Order”), Plaintiff HealthPlan Services, Inc.

    (“HealthPlan”) hereby submits its motion detailing its entitlement to specific attorneys’ fees

    and costs to be awarded based on the grant of HealthPlan’s first and second motions for fees

    (Docs. 168, 190), and states as follows:

    I.     INTRODUCTION

           From the start of discovery, Defendants Rakesh Dixit, Media Shark Productions, Inc.

    and Knowmentum, Inc. (collectively, the “Dixit Defendants”) obstructed HealthPlan’s

    discovery efforts. Dixit Defendants’ discovery abuses spanned multiple granted motions to

    compel, four discovery hearings, and many in-person and telephonic meetings between counsel

    for HealthPlan and some six different attorneys representing Dixit Defendants. Beyond

    obstructing discovery, Dixit Defendants’ misconduct massively and wantonly duplicated

    HealthPlan’s attorney’s fees.

           To abate Dixit Defendants’ misconduct, the Court granted two motions for sanctions,

    and ordered Dixit Defendants to pay HealthPlan’s reasonable attorney’s fees and costs incurred

    because of Dixit Defendants’ latest discovery obstruction. Specifically, the Court ordered
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    Dixit Defendants to pay HealthPlan’s “reasonable attorney’s fees and costs incurred for

    following up on the previously ordered discovery (Doc. 141), preparing the two sanctions

    motions, and adding these already resolved discovery issues to the joint notice of discovery

    disputes.” Order, at 3.

            As supported by the expert declaration and fee records, 1 Dixit Defendants widespread

    discovery abuses forced HealthPlan to incur over $54,000 in attorney’s fees and costs. Such

    fees are reasonable given the requisite high level of skills, experience and reputation needed in

    this case, local prevailing rates and the amount of time worked. HealthPlan seeks recovery of

    these expenses by December 5, 2019, and recovery as a pre-condition to Dixit Defendants’

    maintaining their claims and defenses in this suit.

    II.     Legal Standard

            A reasonable attorney fee is calculated by multiplying the number of hours reasonably

    expended by the reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983).

    A “reasonable hourly rate” is “the prevailing market rate in the relevant legal community for

    similar services by lawyers of reasonably comparable skills, experience, and reputation.”

    Norman v. Housing Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988).

    In determining the reasonable amount of hours, the Court may conduct an hour-by-hour

    analysis or it may reduce the requested hours across the board. Bivins v. Wrap It Up, Inc., 548

    F.3d 1348, 1350 (11th Cir. 2008). The party requesting the fee should submit documentation

    in support of the request. Hensley, 461 U.S. at 433. Nonetheless, the court “is itself an expert



    1
      True and correct copies of the redacted invoices issued to HealthPlan that were reviewed by the fee expert,
    Attorney Fee, are attached as Composite Exhibits 1(a)-(c).




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    on the question and may consider its own knowledge and experience concerning reasonable

    and proper fees and may form an independent judgment either with or without the aid of

    testimony of witnesses as to value.” Campbell v. Green, 112 F.2d 143, 144 (5th Cir. 1940).

    III.   The Fees of HealthPlan’s Counsel Are Reasonable

               A. Given The Complexity Of This IP Suit And The Underlining Healthcare-
                  Related Software, The Requisite “Skills, Experience And Reputation” For
                  Suitable Counsel Is High

           The skills, experience and reputation needed to manage the present case is

    extraordinarily high.    This case involves exceedingly sophisticated healthcare software

    developed at a cost over $120 million dollars. The First Amended Complaint (Doc. 37, “FAC”)

    explains the high stakes at issue:

            Between 2011 and 2014, HealthPlan developed ExchangeLink®, a powerful
    healthcare-related software system. The ExchangeLink® system connects organizations to
    public and private health insurance exchanges. It aggregates and processes data across
    multiple healthcare platforms and distribution channels. HealthPlan invested nearly $100
    million dollars in time, talent and treasure into developing the ExchangeLink® system. As a
    result, many of the largest insurance and managed care providers in the United States
    implemented the ExchangeLink® system. Ultimately, the ExchangeLink® system became the
    premier software system associated with the Affordable Care Act.

    FAC, ¶ 1. Given the importance and value of the technology, stopping the misappropriation

    of its intellectual property (“IP”) rights in the ExchangeLink® software system is of highest

    importance to HealthPlan.      Further, the legal issues arising in the case center around

    specialized, federal and state IP rights. Such IP issues implicate complicated, esoteric and

    ever-changing federal trade secrets and copyright laws.

           Few attorneys in Florida have the requisite level of skills, experience and reputation

    needed to address such challenges. Often, such attorneys have many years of IP litigation

    experience, technical experience, and, in Florida, board certified in intellectual property by the




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    Florida Bar. 2 Indeed, the results recently obtained before the Court evidence the caliber of the

    legal work performed by HealthPlan’s attorneys and the value of their work.

                 B. The Hourly Rates of HealthPlan’s Counsel Are Reasonable

                   1. High Rates Are Reasonable For Skilled, Experienced, and Reputed
                      Attorneys in IP

            As expected, attorneys skilled in highly complex, high-stakes, federal cases command

    high hourly rates. For example, eComSystems, Inc. v. Shared Marketing Services, Inc. et al.,

    Case No. 8:10-cv-1531-T-33MAP, Dkt. 171 (M.D. Fla. Jun. 5, 2012) is instructive because a

    local, board certified IP attorney at the Florida law firm of GrayRobinson attested in 2012 to

    the reasonableness of a standard billing rate of over $500 that was applied during the discovery

    phase in 2011 for an IP case concerning software. There, this Court held that the discounted

    rate of $517.5 charged in 2011—eight years ago—was reasonable. This Court thus awarded

    more than $50,000 in fees and costs associated with the discovery motions, which the Court

    considered justified. 3 Exhibit 2(c), at 2 (noting a standard rate of $575 in 2011 and a 10%

    discount provided to the client).

                   2. HealthPlan’s Counsel’s Rates Are Reasonable

            Here, to meet the imposing challenges of bet-the-company stakes, complex legal issues

    and exploitative opponents, HealthPlan engaged Brinks Gilson & Lione. Brinks is a nationally

    renowned intellectual property practice with over 100 years of experience in intellectual

    property law and a strong presence in Tampa, Florida. Specifically, HealthPlan selected lead


    2
      A search of attorneys that are Board Certified in Intellectual Property by the Florida Bar reveals only 140
    individuals statewide.
    3
      True and correct copies of (a) the affidavit, (b) the accounting memorandum and (c) the Order granting fees in
    the eComSystems case are attached as Composite Exhibits 2(a)-(c).




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    attorneys William Frankel and Alejandro J. Fernandez for their education, experience, and

    knowledge related to intellectual property litigation. William Frankel has over 35 years of

    litigation experience. He is recognized in numerous publications, including Chambers U.S.A

    and Euromoney’s Guides to the World's Leading Patent and Trademark Law Experts, and was

    recognized as “Lawyer of the Year” ‐ Chicago, The Best Lawyers in America, 2018. Mr.

    Frankel’s biography is attached as Exhibit 3(a). Attorney Fernandez manages Brinks’ Florida

    office and litigated IP cases for nearly 20 years. He is a board certified intellectual property

    attorney, and has been named among the Top 100 Super Lawyers in Florida and the Top 50

    Super Lawyers in Tampa Bay. Mr. Fernandez’s biography is attached as Exhibit 3(b).

               Courts have previously held Attorney Fernandez’s and Attorney Frankel’s rates are

    reasonable. See, e.g., Gian Biologics, LLC v. CellMedix Holdings, LLC et al., Case No. 2:15-

    cv-00645-JES-CM, Doc. 57 (M.D. Fla. November 4, 2016).

               Here, the rates and hours incurred by HealthPlan for the specific tasks identified by the

    Court in its Order (see Doc. 200, at 3) are reasonable. In support, HealthPlan submits the

    expert declaration of Tampa IP specialist, Attorney Richard E. Fee, of the law firm Fee &

    Jeffries, P.A. 4 Attorney Fee has previously testified regarding the reasonableness of attorney’s

    fees in intellectual property matters. Moreover, Attorney Fee is board certified in intellectual

    property law by the Florida Bar, and served as chair of the Intellectual Property Board

    Certification Committee.




    4
        A true and correct copy of the Fee Declaration is attached as Exhibit 4.




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               The attorneys’ fees and hours incurred by HealthPlan for the Court-identified tasks are

    set forth below: 5

         Attorney                                     Hours 6           Hourly Rate                  Amount
         Alejandro Fernandez, Partner                   58.80                  $605                  $35,574.00
         William Frankel, Partner                        6.65                  $825                   $5,486.25
         Evi Christou, Associate                        34.10                  $355                  $12,105.50
         Cindy Lovell, Paralegal                         1.50                  $265                     $397.50
                                  Total                                                              $53,563.25

               As discussed below, Mr. Fee’s expert opinion is that fees amounting to $53,465.75 are

    reasonable for a complex IP case in Tampa in 2019, given “defendants’ failure to comply with

    the July 2019 order [Doc. 141] over the last eleven weeks [which] was not substantially

    justified.” Order, at 3.

               The burden is on the fee applicant “to produce satisfactory evidence” that the rate is in

    line with those prevailing in the community. Blum v. Stenson, 465 U.S. 886, 896 n. 11 (1984);

    see also Norman, 836 F.2d at 1299 (defining a reasonable hourly rate as “the prevailing market

    rate in the relevant legal community for similar services by lawyers of reasonably comparable

    skills, experience, and reputation”). The prevailing market rate in this case is Tampa, Florida.

    See Olesen–Frayne v. Olesen, 2:09-cv-49-FtM-29DNF, 2009 WL 3048451, at *2 (M.D. Fla.

    September 21, 2009).


    5
      Attorneys’ fees were not included for: (i) the wasted time attributed to counsels’ review of the Dixit Defendants’
    multiple iterations of deficient and incomplete discovery responses; (ii) corresponding and conferring with
    Defendants’ counsel between March 6th and July 29th regarding the same discovery disputes that continued after
    the July 29th hearing; (iii) the time incurred in preparation for—and attendance of— the May 3rd, May 23rd and
    July 29th hearings; (iv) the travel time for Mr. Frankel for attending the October 16th hearing; (v) the costs for
    Lexis research charges relating to the earlier motions and hearings between April and July; (vi) the fees and costs
    associated with the present Motion; and, (vii) the fees incurred for preparation and attendance of the October 16th
    hearing, all of which caused HealthPlan to incur significant additional fees. Accordingly, the Defendant’s cannot
    be heard to complain about the cost of their malfeasance as they are only bearing a limited portion (less than half)
    of the overall cost of their actions.
    6
        The hours spent performing the identified tasks are set forth in the spreadsheet attached as Exhibit 5.




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           Here, the hourly rates of HealthPlan’s attorneys are reasonable based their background

    and experience and the customary rates charged for complex IP litigation in the Middle District

    of Florida. See, e.g., Exhibit 4, ¶¶ 16-17. HealthPlan’s lead counsel, Attorney Fernandez,

    practices in Tampa as a board certified intellectual property attorney with nearly twenty years

    of experience and an hourly rate of $605. Ms. Lovell is a paralegal, who is also based in Tampa

    and has decades of intellectual property litigation experience.

           “If a fee applicant desires to recover the non-local rates of an attorney who is not from

    the place in which the case was filed, he must show a lack of attorneys practicing in that place

    who are willing and able to handle his claims.” ACLU v. Barnes, 168 F.3d 423, 437 (11th Cir.

    1999). To efficiently manage the vast quantity of discovery abuses by Dixit Defendants, which

    are interlaced with intellectual property issues, Attorney Fernandez enlisted the firm’s other

    offices to handle Dixit Defendants’ improper litigation tactics.

           As noted above, in Tampa, there are few attorneys with the level of expertise required

    to efficiently address the discovery at issue. Of these, the size and lengthy history of Dixit’s

    lawsuit, and the revolving door of Dixit Defendants’ attorneys, created numerous conflicts with

    local attorneys. For example, Greenberg Traurig, Carlton Fields, Holland & Knight, Shutts &

    Bowen, Hill Ward Henderson, Trenam Kemker, Macfarlane Ferguson & McMullen, McIntyre

    Panzarella Thanasides, Bringgold & Todd, and the Stanton Cronin Law Group all have

    conflicts that would make them unsuitable as counsel. Further, enlisting attorneys of record

    already familiar with the facts and legal issues of this case resulted in efficiencies compared to

    attempting to recruit other local attorneys who were not familiar with the case history. Thus,

    this Court should permit HealthPlan to recover the rates of its non-local counsel.




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           Furthermore, HealthPlan selected each member of its litigation team based on their

    education, experience and ability to handle HealthPlan’s claims of copyright infringement and

    trade secret misappropriation against the Dixit Defendants. Their rates are in line with those

    prevailing in the community who handle such complex IP lawsuits concerning healthcare-

    related software systems. See Exhibit 4, ¶¶ 16-17. Thus, the Court should find their rates to

    be reasonable for the present case.

    IV.    HealthPlan’s Counsel Expended A Reasonable Number of Hours

           An attorney should exercise proper “billing judgment” and exclude those hours that

    would be unreasonable to bill a client or opposing counsel. Duckworth v. Whisenant, 97

    F.3d 1393, 1397 (11th Cir. 1996), citing Norman, 836 F.2d at 1301. HealthPlan respectfully

    submits that it expended at least 101.05 hours in addressing the discovery issues relevant here.

    This included many hours preparing for meeting and conferring with the Dixit Defendants’

    counsel, memorializing such meetings to ensure accountability of Dixit Defendants, following

    up with many emails and phone calls, establishing a records of Dixit Defendants’ failures to

    comply with discovery stipulations, drafting a first motion for fees associated with one set of

    discovery violations, drafting a second motion for fees with a different set of discovery

    violations, and addressing the same discovery issues in the joint notice of discovery disputes

    and at the Discovery Hearing on October 16, 2019. See Exhibits 1(a)-(c). The 101.05 hours,

    or 4.2 days, were expended over the three months that the Dixit Defendants obstructed

    discovery required by the Court’s July 2019 Order. Order, at 3. As supported by the detailed

    invoices (see id.) reviewed by Attorney Fee, such hours were reasonable in light of the Dixit

    Defendants’ willful, strategic and obstructive discovery abuses. See Exhibit 4, ¶¶ 14-18




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           As additional indicia of the reasonableness of HealthPlan’s fees calculation, HealthPlan

    is not requesting reimbursement for all the time and money HealthPlan spent: (i) the wasted

    time attributed to counsels’ review of the Dixit Defendants’ multiple iterations of deficient and

    incomplete discovery responses; (ii) corresponding and conferring with Defendants’ counsel

    between March 6th, the date that HealthPlan filed its first motion to compel against Defendants,

    and the July 29th hearing date triggering the fees to be awarded pursuant to the Court’s Order;

    (iii) preparing for and attending the May 3rd preliminary pretrial conference and May 23rd and

    July 29th hearings, which addressed HealthPlan’s earlier motions to compel concerning

    Defendants’ ongoing discovery abuses; (iv) the travel time for Mr. Frankel for attending the

    October 16th hearing; (v) the costs for Lexis research charges relating to the earlier motions

    and hearings between April and July; (vi) the fees and costs associated with the present Motion;

    and, (vii) the fees incurred for preparation and attendance of the October 16th hearing. See

    Exhibits 1(a)-(c).   Thus, this Court should find that a reasonable amount of fees would be

    $53,465.75 for HealthPlan’s fees incurred in addressing the Dixit Defendants’ discovery

    abuses. See Exhibit 4, ¶ 18.

           While the Dixit Defendants’ discovery abuses have been ongoing since as early as

    March, the fees and cost to be awarded pursuant to the Court’s Order include only those

    incurred since the previously ordered discovery on July 30th (see Doc. 141) until the

    October 16th hearing. Because five out of the seven months of HealthPlan’s time addressing

    Defendants’ discovery obstruction are not included in the fees calculation, less than 30% of

    that discovery phase has been analyzed the present fees request pursuant to the Court’s Order.




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     Accordingly, the fee of $53,465.75 has already been reduced in view of Defendants’ abuses

     that stem from the beginning of the discovery stage.

     V.     The Requested Costs Are Reasonable

            In addition to its reasonable fees, HealthPlan seeks to cover the cost associated with

     the Lexis research charges relating to HealthPlan’s first and second motions for fees and the

     October 16th hearing. Specifically, HealthPlan seeks $600 in costs. As supported by the Fee

     Declaration, such costs were reasonable. See Exhibit 4, ¶ 19.

     VI.    Dixit Defendants Should Be Required To Pay The Award of Fees And Costs By
            December 5, 2019 As A Pre-Condition To Maintaining Their Claims and Defenses

            HealthPlan respectfully requests that the order awarding its reasonable fees and costs

     also provide a date certain for Dixit Defendants’ payment of the amount awarded. Courts have

     full discretion to set a deadline for the payment of a fee award. Ibezim v. The GEO Grp., Inc.,

     No. 19-11400, 2019 U.S. App. LEXIS 28934, at *1-2 (11th Cir. Sep. 25, 2019) (per curiam)

     (noting that the district court awarded fees and set a deadline for payment, which was missed;

     and affirming a judgment on the fee award).            Given the timeline described below,

     HealthPlan seeks an order requiring the Dixit Defendants to file a notice of compliance

     confirming timely payment of the fee award in full by December 5, 2019.

            The Court set out a limited timeframe for the present briefing of the specific fees and

     costs sought. Additionally, the Court provided that HealthPlan may renew their motion for

     additional sanctions and contempt before December 6th if the Dixit Defendants continue their

     refusal to comply with the Court’s orders. See Order, at 4. At such time, if the Dixit

     Defendants fail to pay the amount awarded by this Court, HealthPlan would like to address

     such non-compliance in the same renewal motion in order to conserve the resources of the




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     judiciary and the parties. Accordingly, HealthPlan requests that the payment deadline for the

     fee award be set to December 5, 2019.

               Further, Dixit Defendants’ timely payment of HealthPlan’s awarded fees and cost

     should be a condition to maintaining the Dixit Defendants’ claims and defenses in this case.

     This condition, along with the requested payment deadline, would deter future misconduct.

     VII.      Conclusion

               For the reasons stated above, HealthPlan is entitled to an Order requiring Dixit

     Defendants to pay HealthPlan $54,065.75 in attorneys’ fees and costs incurred in connection

     with the specific tasks identified by the Court in its Order (see Doc. 200, at 3) no later than

     December 5, 2019. Further, Dixit Defendants’ timely payment of HealthPlan’s awarded fees

     and cost should be a condition to maintaining Dixit Defendants’ claims and defenses in this

     action.

                              LOCAL RULE 3.01(g) CERTIFICATION

               The undersigned certify that they have conferred with Defendants’ counsel, and

     Defendants oppose the relief sought herein.

     Dated: October 30, 2019                       Respectfully Submitted,

                                                   /s/ Stephen J. Leahu
                                                   Alejandro J. Fernandez (FBN: 32221)
                                                   Board Certified in Intellectual Property Law
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                                                Attorneys for Plaintiff
                                                HealthPlan Services, Inc.



                                     CERTIFICATE OF SERVICE

             I HEREBY certify that on October 30, 2019, I electronically filed the foregoing

     document with the Clerk of the Court CM/ECF, which will send notification of this filing to

     all counsel of record in this action.

                                                       /s/ Stephen J. Leahu




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